                  Case 1-22-40780-jmm                         Doc 32        Filed 06/19/22             Entered 06/20/22 00:07:09


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 22-40780-jmm
Carmen Brink                                                                                                           Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 17, 2022                                               Form ID: 274                                                               Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 19, 2022:
Recip ID                   Recipient Name and Address
db                     +   Carmen Brink, 21-36 28th Street, Astoria, NY 11105-2934
10062873               +   Staten Island Ventures LLC, 95 Guernsey Street, Brooklyn, New York 11222-3111
10078525               +   Staten Island Ventures LLC, The Rosenfeld Law Office, 156 Harborview South, Lawrence, NY 11559-1908
10063079               +   Staten Island Ventures, LLC, 95 Guernsey Street, Brooklyn, NY 11222-3111

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: Macconoticing@maccolaw.com
                                                                                        Jun 17 2022 18:12:00      Michael J. Macco, 2950 Express Drive South,
                                                                                                                  Suite 109, Islandia, NY 11749-1412
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Jun 17 2022 18:12:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn Office), U.S. Federal
                                                                                                                  Office Building, 201 Varick Street, Suite 1006,
                                                                                                                  New York, NY 10014-4811
10073224                   EDI: CAPITALONE.COM
                                                                                        Jun 17 2022 22:18:00      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
10076926                   EDI: JEFFERSONCAP.COM
                                                                                        Jun 17 2022 22:18:00      Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                                  Saint Cloud MN 56302-9617

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty              *+            Michael J. Macco, 2950 Express Drive South, Suite 109, Islandia, NY 11749-1412

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 19, 2022                                             Signature:          /s/Gustava Winters
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District/off: 0207-1                                                   User: admin                                                       Page 2 of 2
Date Rcvd: Jun 17, 2022                                                Form ID: 274                                                     Total Noticed: 8



                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 15, 2022 at the address(es) listed below:
Name                                  Email Address
Avinoam Yackov Rosenfeld
                                      on behalf of Creditor Staten Island Ventures LLC aviyrosenfeld@aol.com

Michael J. Macco
                                      ecf@maccolaw.com jzarrilli@maccolaw.com;maccocr82572@notify.bestcase.com

Michael J. Macco
                                      on behalf of Trustee Michael J. Macco ecf@maccolaw.com jzarrilli@maccolaw.com;maccocr82572@notify.bestcase.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov


TOTAL: 4
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 Information to identify the case:

 Debtor 1:
                        Carmen Brink                                        Social Security number or ITIN:   xxx−xx−4677
                                                                            EIN: _ _−_ _ _ _ _ _ _
                        First Name   Middle Name   Last Name

 Debtor 2:                                                                  Social Security number or ITIN: _ _ _ _
                        First Name   Middle Name   Last Name
 (Spouse, if filing)                                                        EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:         Eastern District of New York        Date case filed for chapter:      13     4/14/22

 Case number:            1−22−40780−jmm


                                      NOTICE OF AUTOMATIC DISMISSAL OF CASE
                                        UNDER BANKRUPTCY CODE § 521 (i)(1)

NOTICE IS HEREBY GIVEN THAT:


1) This case was filed on April 14, 2022, with deficiencies.
2) A Notice of Deficiency Filing was sent on April 14, 2022, informing the debtor(s), among other things, that there
were outstanding statements, schedules and/or lists to be filed or the case may be subject to automatic dismissal
under § 521(i)(1) of the Bankruptcy Code.

3) A Final Notice of Section 521 Deficiencies was sent on May 16, 2022, notifying the debtor(s) that certain
documents remained outstanding and in the absence of those documents being filed, the case would be dismissed
under § 521(i)(1) of the Bankruptcy Code.
4) As of this date, some or all of the required documents have not been filed with the Clerk of the Court.
Under § 521(i)(1), the above captioned case is dismissed effective on the 46th day after the date of the filing of the
petition.

Notice is further given that if there are any outstanding filing fees due, it must be paid in full to the Clerk of Court
upon receipt of this notice.



 Dated: June 17, 2022


                                                                         For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod521.jsp [Notice of Dismissal rev. 05/14/19]
